
ORDERED that all funds, if any, currently existing or hereinafter deposited in any New Jersey financial institution maintained by Richard N. Zuvich pursuant to Rule 1:21-6 be restrained from disbursement except on application to this Court, for good cause shown, and shall be transferred by the financial institution to the Clerk of the Superior Court, who is directed to deposit the funds in the Superior Court Trust Fund pending further Order of this Court; and it is further
ORDERED that Richard N. Zuvich comply with Rule 1:20-20 dealing with disbarred attorneys; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual **255expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
